                               UNITED STATES DISTRICT COURT
                               EASTERN DISTRICT OF WISCONSIN

NICOLAS GALLENBERGER,

                 Plaintiff,                                        Case No. 18-CV-956
  v.

BROWN COUNTY,
JAIL ADMINISTRATOR LARRY MALCOLMSON,
DR. AYEDEMI FATOKI,
NURSE JESSICA JONES,
NURSE EMILY BLOZINSKI,
CORRECT CARE SOLUTIONS,
DR. RICHARD FULLER,
DR. SALAM SYED,
DR. KARL HOFFMAN,
DR. FERN SPRINGS,
DR. LISA ALLEN, and
NURSE JANE KRUEGER,

                 Defendants.


   ORDER FOR DISMISSAL OF DEFENDANTS DR. AYEDEMI FATOKI, NURSE
 JESSICA JONES, NURSE EMILY BLOZINSKI, BROWN COUNTY, SHERIFF JOHN
       GOSSAGE AND JAIL ADMINISTRATOR LARRY MALCOLMSON


       Based on the Stipulation among counsel,

       IT IS HEREBY ORDERED:

       That any and all claims against the defendants Dr. Ayedemi Fatoki, Nurse Jessica Jones

and Nurse Emily Blozinski, along with Brown County, its employees and officials including but

not limited to Sheriff John Gossage and Jail Administrator Larry Malcolmson, which have been

or could have been brought in this action be dismissed with prejudice and without costs, fees and

disbursements.

       Dated this ____ day of ___________, 2021.

                                     __________________________________________
                                     HONORABLE BRETT H. LUDWIG
                                     District Court Judge


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